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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                     )
    SUSAN WILSON COWAN,                              )
                                                     )
                  Plaintiff,                         )
                                                     )
           v.                                        )
                                                            Civil Action No. 21-0895 (RMM)
                                                     )
    FEDERAL COMMUNICATIONS                           )
    COMMISSION,                                      )
                                                     )
                  Defendant.                         )
                                                     )


          PROPOSED SCHEDULE FOR SUBMITTING RENEWED MOTIONS FOR
                           SUMMARY JUDGMENT

          The Court on September 15, 2022, denied without prejudice Ms. Wilson’s revised motion

for summary judgement and the FCC’s cross motion for summary judgment. The Court ordered

the parties to confer and submit a proposed schedule for submitting renewed motions for summary

judgment. The Parties have conferred and jointly propose the following schedule for briefing:

          December 1, 2022:     Defendant’s Motion for Summary Judgment

          January 5, 2023:      Plaintiff’s Opposition and Cross Motion1

          January 19, 2023:     Defendant’s Opposition and Reply

          February 9, 2023:     Plaintiff’s Reply

          The Parties respectfully request that the Court enter a scheduling order for the resolution

of this case consistent with the Parties’ proposal for briefing. A proposed order accompanies this

filing.


1
 The Parties agree that should Plaintiff request additional time, not to exceed two weeks, to submit
her Opposition and Cross Motion, Defendant will consent to a motion seeking an extension of time
and the briefing schedule will be adjusted accordingly.
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Dated: September 28, 2022          Respectfully submitted,

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                                   DC Bar #481052
                                   United States Attorney

                                   BRIAN P. HUDAK
                                   Acting Chief, Civil Division

                                   By: /s/ Dedra S. Curteman
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                    )
 SUSAN WILSON COWAN,                                )
                                                    )
                Plaintiff,                          )
                                                    )
         v.                                         )
                                                           Civil Action No. 21-0895 (RMM)
                                                    )
 FEDERAL COMMUNICATIONS                             )
 COMMISSION,                                        )
                                                    )
                Defendant.                          )
                                                    )


                                     [PROPOSED] ORDER

        This matter is before the Court on the Parties’ Joint Status Report. Upon consideration of

the Joint Status Report and the entire record herein, it is hereby

ORDERED that the Court’s July 15, 2021 Scheduling Order is amended as follows:

        December 1, 2022:      Defendant’s Motion for Summary Judgment

        January 5, 2023:       Plaintiff’s Opposition and Cross Motion

        January 19, 2023:      Defendant’s Opposition and Reply

        February 9, 2023:      Plaintiff’s Reply

SO ORDERED.



Date:                                          __________________________________
                                               Robin M. Merriweather
                                               United States Magistrate Judge
